Case 1:24-cv-01289-UNA Document5 Filed 11/25/24 Page 1 of 2 PagelD #: 106

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Delaware

QFIX SYSTEMS, LLC and ANHOLT
TECHNOLOGIES, INC. d/b/a CQ MEDICAL

Plaintiff(s)

Vv. Civil Action No.

KLARITY MEDICAL PRODUCTS, LLC

—&_ @™—I#”—™" “4” HS?" —{4$_ |" WI" |" ~~ _ ’

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KLARITY MEDICAL PRODUCTS, LLC
600 Industrial Parkway
Heath, Ohio 43056

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Andrew J. Koopman

Buchanan Ingersoll & Rooney, P.C.
500 Delaware Ave.,

Suite 720

Wilmington, DE 19801-7407

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

/s/ John A. Cerino
Date:

Signature of Clerk or Deputy Clerk

Case 1:24-cv-01289-UNA Document5 Filed 11/25/24 Page 2 of 2 PagelD #: 107

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any)

was received by me on (date)

1 I personally served the summons on the individual at (place)

on (date) ; or

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
O JT returned the summons unexecuted because 5 or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
